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IN THE UNI'I`ED STATES DISTRIC'I` COUR'I`
FOR THE NORTHEN DISTRCT ()F ILLINOIS

EASTERN DIVISION
PSN Illinois, LLC, )
) Case No. 08 cv 3?42
Plaintiff, ) C)S’co 3 ‘7H 31
~ ) Judge Rebecca R. Pallmeyer

vs. )

) Magistrate Judge Maria Valclez
Sigma-Aldrich Corp., et. al. )
)
Det`endants. )

STIPULATED- DISMISSAL

 

This Stipulated Dismissal {“Dismissal”) is entered into by and between PSN Illinois,
'LLC (“PSN”) and Sigma-Aldrich Corpcration (“Sigma”), and shall become effective upon the
date of entry (hereinai"ter the “Effective Date”) by the Court of this Dismissal in the litigation
captioned PSN lllinois, LLC v. Sigma-Aldricli Corp., et. al., Civil Action No. l:OS-cv-3742,
Which is currently pending before lodge Pallmeyer in the United States District Court for the
Northern District of Illinois, Eastem Division (hereinaiter the “Litigation"). The Litigation
comes before the Court upon the pleadings and proceedings of record, and PSN and Sigma,
collectively the “Parties,” hereby represent to the Court that the Parties have agreed to a
_ compromise and settlement of the Litigation and have entered into a Contidential Settlement and
License Agreement dated the llth day of June, 2009 (the “Agreement”);

WHEREAS PSN initiated the litigation against Sigma by filing a complaint alleging,
inter afia, infringement of United States Letters Patent Nos. 5,856,443 and 6,518,414Bl (the
“patents-in-suit”) and Sigma denies all allegations ofinfringement; and

WHERBAS PSN and Sigma have agreed to settle, adjust, compromise and resolve the
Litigation on such terms as are set forth in the Settlement Agreement and in this Dismissal.

` NOW, 'I`HEREFORE, in consideration of the mutual promises, agreements, covenants

 

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and conditions herein contained, and those contained in the Settlement Agreement, PSN and

Sigma, by and through their undersigned counsel, hereby agree as follows:

l. PSN hereby agrees to dismiss all claims asserted in the Litigation against
Sigma with prejudice
2. PSN and Sigma agree that each party bear its own costs and attorney fees

incurred in the Litigation.
3. PSN and Sigma recognize the confidential Agreement between the parties.
4. The Court shall retain jurisdiction over the Litigation and the parties for

the purpose of enforcing the terms cf this Dismissal and the Agreement.

 

/s/ LaDonna Boeckman /s/ Michael P. Mazza
LaDonna L. Boeckman Michael P. Mazza

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Attorney for Sigma Attomey for PSN Illinois, LLC
Pursuant to the foregoing agreement and stipulations of the parties,

IT IS SO ORDERED.

  

Dated: June °Q_S, 2009 `

    

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District Court lodge

  

 

 

